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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


CHAD EDWARD LEATHERMAN, )
                          )
    Plaintiff,            )
                          )
v.                        )                   No. CIV-21-672-D
                          )
CORECIVIC, INC., et. al., )
                          )
    Defendants.           )


                                     ORDER

    The following deadline is established in this matter:

           November 2, 2021                   -             Dispositive Motion(s).

    IT IS SO ORDERED this        2nd day of       July , 2021.
